Case 2:23-cr-00070-MKD   ECF No. 105        filed 09/19/24   PageID.357   Page 1 of
                                       16
Case 2:23-cr-00070-MKD   ECF No. 105        filed 09/19/24   PageID.358   Page 2 of
                                       16
Case 2:23-cr-00070-MKD   ECF No. 105        filed 09/19/24   PageID.359   Page 3 of
                                       16
Case 2:23-cr-00070-MKD   ECF No. 105        filed 09/19/24   PageID.360   Page 4 of
                                       16
Case 2:23-cr-00070-MKD   ECF No. 105        filed 09/19/24   PageID.361   Page 5 of
                                       16
Case 2:23-cr-00070-MKD   ECF No. 105        filed 09/19/24   PageID.362   Page 6 of
                                       16
Case 2:23-cr-00070-MKD   ECF No. 105        filed 09/19/24   PageID.363   Page 7 of
                                       16
Case 2:23-cr-00070-MKD   ECF No. 105        filed 09/19/24   PageID.364   Page 8 of
                                       16
Case 2:23-cr-00070-MKD   ECF No. 105        filed 09/19/24   PageID.365   Page 9 of
                                       16
Case 2:23-cr-00070-MKD   ECF No. 105     filed 09/19/24   PageID.366   Page 10
                                   of 16
Case 2:23-cr-00070-MKD   ECF No. 105     filed 09/19/24   PageID.367   Page 11
                                   of 16
Case 2:23-cr-00070-MKD   ECF No. 105     filed 09/19/24   PageID.368   Page 12
                                   of 16
Case 2:23-cr-00070-MKD   ECF No. 105     filed 09/19/24   PageID.369   Page 13
                                   of 16
Case 2:23-cr-00070-MKD   ECF No. 105     filed 09/19/24   PageID.370   Page 14
                                   of 16
Case 2:23-cr-00070-MKD   ECF No. 105     filed 09/19/24   PageID.371   Page 15
                                   of 16
Case 2:23-cr-00070-MKD   ECF No. 105     filed 09/19/24   PageID.372   Page 16
                                   of 16
